                    Case 16-04674                 Doc 1       Filed 02/15/16 Entered 02/15/16 15:13:36                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

Case number (if known)                                                         Chapter you are filing under:

                                                                               Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Maria
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          A.
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Lara
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-2458
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Lara, Maria A.                                                                              Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 225 Comstock St
                                 Joliet, IL 60436-1680
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Will
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
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Debtor 1    Lara, Maria A.                                                                                Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                  When                              Case number
                                             District                                  When                              Case number
                                             District                                  When                              Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known



11. Do you rent your               No.        Go to line 12.
    residence?
                                  Yes.        Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




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Debtor 1    Lara, Maria A.                                                                                    Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




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Debtor 1    Lara, Maria A.                                                                                Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                              Incapacity.      I have a mental illness or a                  Incapacity.      I have a mental illness or a mental
                                                                mental deficiency that makes                                    deficiency that makes me incapable of
                                                                me incapable of realizing or                                    realizing or making rational decisions
                                                                making rational decisions                                       about finances.
                                                                about finances.

                                              Disability.      My physical disability causes                 Disability.      My physical disability causes me to be
                                                                me to be unable to participate                                  unable to participate in a briefing in
                                                                in a briefing in person, by                                     person, by phone, or through the
                                                                phone, or through the internet,                                 internet, even after I reasonably tried to
                                                                even after I reasonably tried to                                do so.
                                                                do so.

                                              Active duty.      I am currently on active military            Active duty.     I am currently on active military duty in
                                                                 duty in a military combat zone.                                a military combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver of credit counseling with the court.                      counseling with the court.




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Debtor 1    Lara, Maria A.                                                                                   Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to                                                     $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?                             $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Maria Lara
                                   Maria A. Lara                                                      Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      February 4, 2016                                  Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




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Debtor 1   Lara, Maria A.                                                                                    Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Sara J. Gray                                                      Date         February 4, 2016
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Sara J. Gray
                                Printed name

                                Sara J. Gray, P.C.
                                Firm name


                                1106 W Jefferson St.
                                Joliet, IL 60435
                                Number, Street, City, State & ZIP Code

                                Contact phone    (815) 723-4543                                 Email address         sgraylaw@yahoo.com
                                6273540
                                Bar number & State




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                     CHAPTER 7 BANKRUPTCY ATTORNEY-CLIENT AGREEMENT
 IT IS HEREBY AGREED, by and between Law Office of SARA J. GRAY, PC, hereinafter referred to as
 "Attorney" and {Y)Q.Ajc'- ~                            hereinafter referred to as the "Client", that the said
 Attorneys will represent the said Client under the following agreement:

 1.      That Client agrees pay a flat fee in the amount of$ lOOO & plus filing fee (currently $335.00)     to
 secure the Attorney's availability for the filing of a Chapter 7 Bankruptcy and assistance with prosecuting that
 matter through termination of the bankruptcy case. This is a "classic" retainer is earned when paid and
 immediately becomes the property of the lawyer. Said sums will not be deposited into any trust account.

 2.       That the retainer will be paid to Attorneys as follo'%s:
          a. Client will make an initial payment of$ / 3?§ ;,-prior to    Filing (includes $335 .00 for filing fee)
                                                       1
          b.   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~




          C.



3.      If some unforeseen event shall develop which prevents us from continuing to represent client, we will
return such portion of the fee paid that exceeds the services rendered by us. The fee for our services shall be
based on $200.00 per hour for office time and $225.00 per hour for time spent outside the office.

4.   Client agrees to pay all court costs and any other expenses necessary to defend or prosecute this action on
behalf of the Client, (including stenographer, investigator and expert fees).

 5.      Client understands that this retainer Contract DOES NOT include any additional legal services which
 are not directly related to this action (including but not limited to adversary proceedings in bankruptcy), and
 further understands that this Contract may be terminated by Client at any time, and that all materials and
 documents will be returned to Client upon full payment of the then outstanding fees and costs, if any.

6.     It is further understood that we made no promises to you as to the outcome of this case except that we
promise to render our best professional skills.

7.      Every effort will be made to expedite the Client's case promptly and efficiently, according to the highest
legal professional and ethical standards. However the expedition of Client's case is subject to Client's wishes,
best interests, and cooperation. .

8.      Client hereby acknowledges that he/she has read and understands this Contract and has received a copy
of the same.




                                                                                                   1- o -zal,t,
AGREED AND APPROVED:                                                                              DATE
      1


                                                            CLIENT                                DATE
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                                                                        Document     Page 10 of 60
 Fill in this information to identify your case:

 Debtor 1                   Maria A. Lara
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $             201,328.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             201,328.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $              50,135.85

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $              49,604.33


                                                                                                                                     Your total liabilities $                    99,740.18


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                1,309.13

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,271.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.

 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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 Debtor 1     Lara, Maria A.                                                                 Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $         1,360.53


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $              0.00

       9d. Student loans. (Copy line 6f.)                                                                  $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$              0.00


       9g. Total. Add lines 9a through 9f.                                                            $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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                       Case 16-04674            Doc 1             Filed 02/15/16 Entered 02/15/16 15:13:36                            Desc Main
                                                                   Document     Page 12 of 60
 Fill in this information to identify your case and this filing:

 Debtor 1                  Maria A. Lara
                           First Name                     Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)       First Name                     Middle Name                     Last Name


 United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number                                                                                                                                     Check if this is an
                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
    Yes.      Where is the property?

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1      Make:        Scion                                Who has an interest in the property? Check one        Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:       tC                                   Debtor 1 only                                        Creditors Who Have Claims Secured by Property .
           Year:        2006                                  Debtor 2 only                                       Current value of the      Current value of the
           Approximate mileage:             150000            Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Other information:                                 At least one of the debtors and another

                                                              Check if this is community property                          $2,120.00                   $2,120.00
                                                                   (see instructions)



  3.2      Make:        Volkswagen                           Who has an interest in the property? Check one        Do not deduct secured claims or exemptions. Put
                                                                                                                   the amount of any secured claims on Schedule D:
           Model:       Passat                               Debtor 1 only                                        Creditors Who Have Claims Secured by Property .
           Year:        2006                                  Debtor 2 only                                       Current value of the      Current value of the
           Approximate mileage:             130000            Debtor 1 and Debtor 2 only                          entire property?          portion you own?
           Other information:                                 At least one of the debtors and another

                                                              Check if this is community property                          $1,408.00                   $1,408.00
                                                                   (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes



Official Form 106A/B                                                       Schedule A/B: Property                                                               page 1
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 Debtor 1       Lara, Maria A.                                                                                 Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>              $3,528.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                          Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                   Various household goods                                                                                                $600.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                   TV, DVD player, cell phones                                                                                            $200.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.    Describe.....

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.     Describe.....
                                   Various used clothing                                                                                                  $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes.     Describe.....
                                   Various jewelry                                                                                                        $300.00


13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
    Yes.     Describe.....
                                   Mini poodle dog -3 year old                                                                                            $100.00

                                   Shihtzu-chihuahua mix-18 months old                                                                                    $100.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                   page 2
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 Debtor 1          Lara, Maria A.                                                                                                  Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                                     $1,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.       Checking Account                       Chase Bank                                                                 $300.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                              % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 3
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 Debtor 1       Lara, Maria A.                                                                            Case number (if known)

    No
     Yes.............         Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.    Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.    Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.    Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                       Anticipated 2015 tax refund                              Federal                               $1,000.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.    Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                            Beneficiary:                            Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.    Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes.     Describe each claim.........
                                                    Worker's compensation case against present employer,
                                                    O'Reilly's Auto Parts. Receiving treatment and $302.24 per
                                                    week. Claim #OR-16-010565. Attorney is Ron Fladhammer,
                                                    815-727-0100. Actual value is unknown at this time.                                            $150,000.00


Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 4
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 Debtor 1        Lara, Maria A.                                                                                             Case number (if known)

                                                        Personal injury claim arising from October 14, 2015, motor
                                                        vehicle accident. Debtor completed 2 months of therapy.
                                                        Attorney is Tom Polacek 815-727-0100. Value is currently not
                                                        known to Debtor. Debtor approximates $14,000 in medical
                                                        bills, only $5,135.85 of which is known to have a lien
                                                        perfected.                                                                                                  $45,000.00

                                                        Personal injury claim against bowling alley for a slip and fall
                                                        which the Debtor has not pursued.                                                                              unknown

                                                        Personal injury and property claim for motor vehicle
                                                        accident. Vehicle was insured, but not driver. Attorney is
                                                        Tom P. Polacek, but Debtor contract with him requires her
                                                        to pay costs, which she cannot afford. Claim is not being
                                                        prosecuted at this time.                                                                                       unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................         $196,300.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                              $0.00




Official Form 106A/B                                                        Schedule A/B: Property                                                                        page 5
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 Debtor 1         Lara, Maria A.                                                                                                        Case number (if known)

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................                  $0.00
 56. Part 2: Total vehicles, line 5                                                                           $3,528.00
 57. Part 3: Total personal and household items, line 15                                                      $1,500.00
 58. Part 4: Total financial assets, line 36                                                                $196,300.00
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $201,328.00               Copy personal property total       $201,328.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $201,328.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                       page 6
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                                                                   Document     Page 18 of 60
 Fill in this information to identify your case:

 Debtor 1                  Maria A. Lara
                           First Name                     Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)       First Name                     Middle Name                      Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                  portion you own
                                                             Copy the value from        Check only one box for each exemption.
                                                             Schedule A/B

      Scion                                                          $2,120.00                                                  735 ILCS 5/12-1001(c)
      tC
      2006                                                                                  100% of fair market value, up to
      150000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 3.1

      Volkswagen                                                                                                                 735 ILCS 5/12-1001(b)
      Passat
                                                                     $1,408.00                                    $1,200.00
      2006                                                                                  100% of fair market value, up to
      130000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 3.2

      Volkswagen                                                                                                                 735 ILCS 5/12-1001(c)
      Passat
                                                                     $1,408.00                                      $208.00
      2006                                                                                  100% of fair market value, up to
      130000                                                                                 any applicable statutory limit
      Line from Schedule A/B: 3.2

      Various household goods                                                                                                    735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 6.1
                                                                        $600.00                                     $600.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 3
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     Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                   portion you own
                                                             Copy the value from    Check only one box for each exemption.
                                                             Schedule A/B

     TV, DVD player, cell phones                                                                                             735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 7.1
                                                                       $200.00                                  $200.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Various used clothing                                                                                                   735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 11.1
                                                                       $200.00                                  $200.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Various jewelry                                                                                                         735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 12.1
                                                                       $300.00                                  $300.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Mini poodle dog -3 year old                                                                                             735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 13.1
                                                                       $100.00                                  $100.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Shihtzu-chihuahua mix-18 months                                                                                         735 ILCS 5/12-1001(b)
     old
                                                                       $100.00                                  $100.00
     Line from Schedule A/B: 13.2                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit

     Chase Bank                                                                                                              735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 17.1
                                                                       $300.00                                  $300.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Anticipated 2015 tax refund                                                                                             735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 28.1
                                                                     $1,000.00                                $1,000.00
                                                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Worker's compensation case against                            $150,000.00                                              820 ILCS 305/21
     present employer, O'Reilly's Auto
     Parts. Receiving treatment and                                                     100% of fair market value, up to
     $302.24 per week. Claim                                                             any applicable statutory limit
     #OR-16-010565. Attorney is Ron
     Fladhammer, 815-727-0100. Actual
     value is unknown at this time.
     Line from Schedule A/B: 33.1

     Personal injury claim arising from                                                                                      735 ILCS 5/12-1001(h)(4)
     October 14, 2015, motor vehicle
                                                                    $45,000.00                              $15,000.00
     accident. Debtor completed 2                                                       100% of fair market value, up to
     months of therapy. Attorney is Tom                                                  any applicable statutory limit
     Polacek 815-727-0100. Value is
     currently not known to Debtor.
     Debtor approximates $14,000 in
     medical bills, only $5,135.85
     Line from Schedule A/B: 33.2


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No

Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 3
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                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                       page 3 of 3
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                                                                    Document     Page 21 of 60
 Fill in this information to identify your case:

 Debtor 1                   Maria A. Lara
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         McNamara, Phelan,
 2.1                                              Describe the property that secures the claim:                 $15,000.00               $45,000.00                     $0.00
         McSteen, LLC
         Creditor's Name
                                                  Personal injury claim arising from
                                                  October 14, 2015, motor vehicle
                                                  accident. Debtor completed 2
                                                  months of therapy. Attorney is
                                                  Tom Polacek 815-727-0100. Value is
                                                  currently not known to Debtor.
                                                  Debtor approximates $14,000 in
                                                  medical bills
                                                  As of the date you file, the claim is: Check all that
         3601 McDonough St                        apply.
         Joliet, IL 60431-9102                    Contingent
         Number, Street, City, State & Zip Code   Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
 Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a               Other (including a right to offset)     Attorney Lien
       community debt

 Date debt was incurred                                    Last 4 digits of account number



 2.2
         McNamara, Phelan,
         McSteen, LLC                             Describe the property that secures the claim:                 $30,000.00             $150,000.00                      $0.00
         Creditor's Name
                                                  Worker's compensation case
                                                  against present employer,
                                                  O'Reilly's Auto Parts. Receiving
                                                  treatment and $302.24 per week.
                                                  Claim #OR-16-010565. Attorney is
                                                  Ron Fladhammer, 815-727-0100.
                                                  Actual value is unknown at this
                                                  time.
                                                  As of the date you file, the claim is: Check all that
         3601 McDonough St                        apply.
         Joliet, IL 60431-9102                    Contingent
Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 3
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 Debtor 1 Maria A. Lara                                                                                    Case number (if know)
              First Name                  Middle Name                     Last Name


        Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        McNamara, Phelan,
 2.3                                               Describe the property that secures the claim:                   unknown          Unknown          $0.00
        McSteen, LLC
        Creditor's Name
                                                   Personal injury and property claim
                                                   for motor vehicle accident. Vehicle
                                                   was insured, but not driver.
                                                   Attorney is Tom P. Polacek, but
                                                   Debtor contract with him requires
                                                   her to pay costs, which she cannot
                                                   afford. Claim is not being
                                                   prosecute
                                                   As of the date you file, the claim is: Check all that
        3601 McDonough St                          apply.
        Joliet, IL 60431-9102                      Contingent
        Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)     Attorney Lien
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        Presence St. Joseph
 2.4                                               Describe the property that secures the claim:                   $5,135.85       $45,000.00        $0.00
        Medical Center
        Creditor's Name
                                                   Personal injury claim arising from
                                                   October 14, 2015, motor vehicle
                                                   accident. Debtor completed 2
                                                   months of therapy. Attorney is
                                                   Tom Polacek 815-727-0100. Value is
                                                   currently not known to Debtor.
                                                   Debtor approximates $14,000 in
                                                   medical bills
                                                   As of the date you file, the claim is: Check all that
        333 Madison St                             apply.
        Joliet, IL 60435-8200                      Contingent
        Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
 Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit



Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                page 2 of 3
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 Debtor 1 Maria A. Lara                                                                               Case number (if know)
             First Name                Middle Name                     Last Name


  Check if this claim relates to a               Other (including a right to offset)
     community debt

 Date debt was incurred                                  Last 4 digits of account number



 Add the dollar value of your entries in Column A on this page. Write that number here:                           $50,135.85
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                          $50,135.85

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.
        Name Address
        -NONE-                                                                           On which line in Part 1 did you enter the creditor?

                                                                                         Last 4 digits of account number




Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                  Maria A. Lara
                           First Name                       Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                          Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                                        Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
       2.
                                                                                                                                                            Total claim

 4.1          Adventist Bolingbrook Hospital                         Last 4 digits of account number                                                                    $1,661.11
              Nonpriority Creditor's Name
                                                                     When was the debt incurred?
              75 Remittance Dr Dept 6097
              Chicago, IL 60675-6097
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                          Contingent
               Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                            Disputed
               At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                Student loans
              debt                                                    Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims

              No                                                     Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                  Other. Specify      Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 11
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 4.2      Adventist Hinsdale Hospital                               Last 4 digits of account number                                                        $2,137.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 9247
          Oak Brook, IL 60522-9247
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical


 4.3      AT&T Uverse                                               Last 4 digits of account number       8820                                               $89.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 5014
          Carol Stream, IL 60197-5014
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account


 4.4      Bk of Amer                                                Last 4 digits of account number       6883                                             $4,834.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 15026
          Wilmington, DE 19850-5026
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Revolving account




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 4.5      Bmo Harris Bank                                           Last 4 digits of account number       5219                                         $10,430.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 94034
          Palatine, IL 60094-4034
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Deficiency on Repossessed Mobile Home


 4.6      Chase Card                                                Last 4 digits of account number       6987                                             $4,729.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Revolving account


 4.7      Chase Card                                                Last 4 digits of account number       9344                                             $4,481.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 15298
          Wilmington, DE 19850-5298
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Revolving account




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 4.8      Citi Banamex                                              Last 4 digits of account number       6145                                             $3,073.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          2029 Century Park E
          Los Angeles, CA 90067-2901
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Revolving account


 4.9      Comed                                                     Last 4 digits of account number       1490                                              $291.00
          Nonpriority Creditor's Name
          Customer Care Center                                      When was the debt incurred?
          PO Box 805379
          Chicago, IL 60680-4179
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Open account


 4.10     Discover Fin Svcs LLC                                     Last 4 digits of account number       0620                                             $3,555.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 15316
          Wilmington, DE 19850-5316
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Revolving account




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 4.11     Fifth Third Bank                                          Last 4 digits of account number       4540                                               $28.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          5050 Kingsley Dr
          Cincinnati, OH 45227-1115
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Deficiency on Repossessed Vehicle


 4.12     Illinois Emergency Medical Spe                            Last 4 digits of account number       0522                                             $1,192.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 71402
          Chicago, IL 60694-1402
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical


 4.13     Infinite Strategic Innovations                            Last 4 digits of account number                                                         $710.19
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 277873
          Atlanta, GA 30384-7873
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical




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 4.14     Joliet Radiological Service Corp.                         Last 4 digits of account number                                                         $527.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          36910 Treasury Ctr
          Chicago, IL 60694-6900
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical


 4.15     Kohls/capone                                              Last 4 digits of account number       3194                                              $800.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          N56 W 17000 Ridgewood Dr
          Menomonee Falls, WI 53051
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Revolving account


 4.16     MacNeal Hospital                                          Last 4 digits of account number                                                         $192.37
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          3249 Oak Park Ave
          Berwyn, IL 60402-3429
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical




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          Malcolm S. Gerald & Associates,
 4.17     Inc.                                                      Last 4 digits of account number                                                         $747.95
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          332 S Michigan Ave Ste 600
          Chicago, IL 60604-4318
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical


 4.18     Physiotherapy Associates                                  Last 4 digits of account number                                                         $244.60
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 3379
          Montgomery, AL 36109-0379
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical


 4.19     Presence Health                                           Last 4 digits of account number                                                        $5,586.66
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          1643 Lewis Ave Ste 203
          Billings, MT 59102-4151
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical




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 Debtor 1 Lara, Maria A.                                                                                 Case number (if know)

 4.20     Romeoville Fire Department                                Last 4 digits of account number       2447                                              $886.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          18 Montrose Dr
          Romeoville, IL 60446-1370
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical


 4.21     RX Development Assoc.                                     Last 4 digits of account number                                                         $634.92
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 844624
          Dallas, TX 75284-4624
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Medical


 4.22     Sears/Cbna                                                Last 4 digits of account number       1284                                              $780.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 6189
          Sioux Falls, SD 57117-6189
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Revolving account




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 Debtor 1 Lara, Maria A.                                                                                 Case number (if know)

 4.23     Sprint                                                    Last 4 digits of account number                                                         $212.49
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 8077
          London, KY 40742-8077
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Cellular Service


 4.24     T-Mobile Financial                                        Last 4 digits of account number                                                         $261.59
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          PO Box 629025
          El Dorado Hills, CA 95762-9025
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims

          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Cellular Service


 4.25     TCF Bank                                                  Last 4 digits of account number                                                         $633.95
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?
          800 Burr Ridge Pkwy
          Burr Ridge, IL 60527-6486
          Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          Debtor 1 only                                             Contingent
           Debtor 2 only                                            Unliquidated
           Debtor 1 and Debtor 2 only                               Disputed
           At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                   Student loans
          debt                                                       Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                           report as priority claims
          No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                     Other. Specify      Overdrafts




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 Debtor 1 Lara, Maria A.                                                                                  Case number (if know)

 4.26      Village of Romeoville                                    Last 4 digits of account number                                                           $886.50
           Nonpriority Creditor's Name
                                                                    When was the debt incurred?
           18 Montrose Dr
           Romeoville, IL 60446-1370
           Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           Debtor 1 only                                            Contingent
            Debtor 2 only                                           Unliquidated
            Debtor 1 and Debtor 2 only                              Disputed
            At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                  Student loans
           debt                                                      Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims
           No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                    Other. Specify      Medical

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 ACC International                                           Line 4.25 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1175 Devin Dr Ste 128                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Norton Shores, MI 49441-6079
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Afni, Inc.                                                  Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO Box 3097                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Bloomington, IL 61702-3097
                                                             Last 4 digits of account number                    8820
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 AFNI, INC.                                                  Line 4.23 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 3517                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Bloomington, IL 61702-3517
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Cci                                                         Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 Augusta, GA 30901                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Last 4 digits of account number                    1490
 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Credence                                                    Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 6045 Atlantic Blvd Ste 210                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Norcross, GA 30071-1322
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Creditors Collection Bureau                                 Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 755 Almar Pkwy Apt Rarkway                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Bourbonnais, IL 60914-2392
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Firstsource Financial Solutions,                            Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 7650 Magna Dr
 Belleville, IL 62223-3366
                                                             Last 4 digits of account number

 Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Lara, Maria A.                                                                                   Case number (if know)

 LTD Financial Services, L.P.                                   Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 7322 Southwest Fwy Ste 1600                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77074-2134
                                                                Last 4 digits of account number                   6145
 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Merchants Credit Guide                                         Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 223 W Jackson Blvd Ste 4                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60606-6908
                                                                Last 4 digits of account number                   0522
 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Northwest Collectors                                           Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3601 Algonquin Rd Ste 23                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Rolling Meadows, IL 60008-3126
                                                                Last 4 digits of account number                   2447
 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Northwest Collectors, Inc.                                     Line 4.26 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3601 Algonquin Rd Ste 232                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Rolling Meadows, IL 60008-3106
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Southwest Credit                                               Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 4120 International Pkwy                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Carrollton, TX 75007-1957
                                                                Last 4 digits of account number                   8820

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total. Add lines 6a through 6d.                                               6e.       $                          0.00

                                                                                                                     Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                   49,604.33

                        6j.   Total. Add lines 6f through 6i.                                               6j.       $                   49,604.33




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 11 of 11
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 Fill in this information to identify your case:

 Debtor 1                  Maria A. Lara
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.      You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Maria A. Lara
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                    State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Maria A. Lara

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ILLINOIS, EASTERN
                                               DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with            Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                              Occupation             Driver
       Include part-time, seasonal, or
       self-employed work.                    Employer's name        O'Reilly's Auto Parts

       Occupation may include student or Employer's address
                                                                     60 S Weber Rd
       homemaker, if it applies.
                                                                     Romeoville, IL 60446-4947

                                              How long employed there?          1 years and 6 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $              0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $           0.00            $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                     page 1
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Debtor 1    Lara, Maria A.                                                                          Case number (if known)



                                                                                                        For Debtor 1            For Debtor 2 or
                                                                                                                                non-filing spouse
      Copy line 4 here                                                                      4.          $              0.00     $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               N/A
      5e.    Insurance                                                                       5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                    5f.        $              0.00     $               N/A
      5g.    Union dues                                                                      5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $                  0.00     $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00     $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00     $               N/A
      8e.    Social Security                                                                 8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                0.00   $                     N/A
      8g. Pension or retirement income                                                       8g. $                 0.00   $                     N/A
      8h. Other monthly income. Specify: Worker's Compensation                               8h.+ $            1,309.13 + $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $          1,309.13         $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            1,309.13 + $              N/A = $          1,309.13
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.      +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.         $          1,309.13
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1              Maria A. Lara                                                                          Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS,                                             MM / DD / YYYY
                                          EASTERN DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                          Yes.    Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’  s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’
                                                                                                                        age
                                                                                                                                 s       Does dependent
                                                                                                                                         live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                            Son                                  21               Yes
                                                                                                                                          No
                                                                                   Daughter                             19               Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include
      expenses of people other than
                                                 No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                           650.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                           0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                           0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                          30.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                           0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                           0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Lara, Maria A.                                                                            Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              200.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                60.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                               55.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              500.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               37.00
10.   Personal care products and services                                                      10. $                                               160.00
11.   Medical and dental expenses                                                              11. $                                               100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               210.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                28.00
14.   Charitable contributions and religious donations                                         14. $                                                 5.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               160.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:        Pet Food/Supplies/Vet                                             21. +$                                                76.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,271.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,271.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               1,309.13
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,271.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -961.87

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                  Maria A. Lara
                           First Name                     Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)       First Name                     Middle Name                    Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

             Married
             Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                               Dates Debtor 2
                                                                  there                                                                          lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                 Gross income                 Sources of income               Gross income
                                                  Check all that apply.             (before deductions and       Check all that apply.           (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                          Wages, commissions,                           $4,835.95        Wages, commissions,
 (January 1 to December 31, 2015 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                     exclusions)                                               and exclusions)

 For the calendar year before that:               Wages, commissions,                         $15,026.00         Wages, commissions,
 (January 1 to December 31, 2014 )                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                          Operating a business

                                                   Wages, commissions,                          $1,583.00        Wages, commissions,
                                                  bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                       Debtor 2
                                                  Sources of income                  Gross income                Sources of income             Gross income
                                                  Describe below..                   (before deductions and      Describe below.               (before deductions
                                                                                     exclusions)                                               and exclusions)
 For the calendar year before that:               Interest from IRS.                               $432.00
 (January 1 to December 31, 2014 )


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                    paid            still owe




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment          Total amount         Amount you        Reason for this payment
                                                                                                    paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                                 Dates of payment          Total amount         Amount you        Reason for this payment
                                                                                                    paid            still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                                 Nature of the case       Court or agency                         Status of the case
       Case number
       Maria Lara v. O'Reilly's Auto Parts                        Worker's                 IWCC                                     Pending
                                                                  Compensation                                                        On appeal
                                                                                                                                      Concluded


       MARIA LARA vs. SHANNON                                     Personal Injury          Will County Circuit Court                Pending
       TUCKER                                                                              14 W Jefferson St                          On appeal
       2015L 000893                                                                        Joliet, IL 60432-4300
                                                                                                                                      Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No
           Yes. Fill in the information below.
       Creditor Name and Address                                  Describe the Property                                     Date                        Value of the
                                                                                                                                                           property
                                                                  Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                                  Describe the action the creditor took                     Date action was                 Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes




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 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                 Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                      Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
       how the loss occurred                                                                                                 loss                             lost
                                                          Include the amount that insurance has paid. List pending
                                                          insurance claims on line 33 ofSchedule A/B: Property.
       Motor vehicle accident. 2005                       At fault driver's vehicle was insured, but                         4/17/15                   $8,000.00
       Toyota Matrix.                                     policy didn't cover driver. Debtor had
                                                          insurance with Magnum Insurance. Also gap
                                                          coverage with another insurance company.
                                                          Together the insurance covered the total loss
                                                          of vehicle. Insurances got the title to the
                                                          vehicle.


 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                  Date payment or           Amount of
       Address                                                        transferred                                            transfer was               payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Sara J. Gray, P.C.                                             1000.00                                                                          $1,000.00
       1106 W Jefferson St.
       Joliet, IL 60435


       Access Counseling                                              Credit counseling                                                                   $25.00
       633 W 5th St Ste 26001
       Los Angeles, CA 90071-2005


       CIN Compass                                                    Credit Report                                                                       $23.00

       Sara J. Gray

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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment or            Amount of
       Address                                                        transferred                                             transfer was                payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                   Describe any property or       Date transfer was
       Address                                                        property transferred                       payments received or debts     made
                                                                                                                 paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
       Name of Financial Institution and                          Last 4 digits of           Type of account or          Date account was       Last balance before
       Address (Number, Street, City, State and ZIP               account number             instrument                  closed, sold,           closing or transfer
       Code)                                                                                                             moved, or
                                                                                                                         transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                         have it?
                                                                      and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

           No
           Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                       have it?
                                                                      Address (Number, Street, City, State
                                                                      and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for



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      someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                     Describe the property                      Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
       Name of site                                                 Governmental unit                              Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
       Case Title                                                   Court or agency                            Nature of the case               Status of the
       Case Number                                                  Name                                                                        case
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

            A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation




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            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                             Describe the nature of the business            Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                      Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Maria Lara
 Maria A. Lara                                                            Signature of Debtor 2
 Signature of Debtor 1

 Date      February 4, 2016                                               Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7

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 Fill in this information to identify your case:

 Debtor 1                  Maria A. Lara
                           First Name                     Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)       First Name                     Middle Name                Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Case number
 (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                      12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?

    Creditor's                                                           Surrender the property.                               No
    name:                                                                Retain the property and redeem it.
                                                                         Retain the property and enter into a Reaffirmation    Yes
    Description of                                                        Agreement.
    property                                                             Retain the property and [explain]:
    securing debt:

    Creditor's                                                           Surrender the property.                               No
    name:                                                                Retain the property and redeem it.
                                                                         Retain the property and enter into a Reaffirmation    Yes
    Description of                                                        Agreement.
    property                                                             Retain the property and [explain]:
    securing debt:

    Creditor's                                                           Surrender the property.                               No
    name:                                                                Retain the property and redeem it.
                                                                         Retain the property and enter into a Reaffirmation    Yes
    Description of                                                        Agreement.
    property                                                             Retain the property and [explain]:
    securing debt:

    Creditor's                                                           Surrender the property.                               No


Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                      page 1

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 Debtor 1      Lara, Maria A.                                                                         Case number (if known)


     name:                                                               Retain the property and redeem it.                         Yes
                                                                         Retain the property and enter into a Reaffirmation
     Description of                                                        Agreement.
     property                                                            Retain the property and [explain]:
     securing debt:



 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Maria Lara                                                              X
       Maria A. Lara                                                                   Signature of Debtor 2
       Signature of Debtor 1

       Date        February 4, 2016                                                Date




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                         page 2

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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                        Northern District of Illinois, Eastern Division
 In re       Lara, Maria A.                                                                                  Case No.
                                                                               Debtor(s)                     Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    1,000.00
             Prior to the filing of this statement I have received                                       $                    1,000.00
             Balance Due                                                                                 $                        0.00

2.     The source of the compensation paid to me was:
                   Debtor         Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor         Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in adversary proceedings.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 4, 2016                                                         /s/ Sara J. Gray
     Date                                                                     Sara J. Gray
                                                                              Signature of Attorney
                                                                              Sara J. Gray, P.C.

                                                                              1106 W Jefferson St.
                                                                              Joliet, IL 60435
                                                                              (815) 723-4543
                                                                              sgraylaw@yahoo.com
                                                                              Name of law firm




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   ACC International
   1175 Devin Dr Ste 128
   Norton Shores, MI 49441-6079


   Adventist Bolingbrook Hospital
   75 Remittance Dr Dept 6097
   Chicago, IL 60675-6097


   Adventist Hinsdale Hospital
   PO Box 9247
   Oak Brook, IL 60522-9247


   Afni, Inc.
   PO Box 3097
   Bloomington, IL      61702-3097


   AFNI, INC.
   PO Box 3517
   Bloomington, IL      61702-3517


   AT&T Uverse
   PO Box 5014
   Carol Stream, IL       60197-5014


   Bk of Amer
   PO Box 15026
   Wilmington, DE       19850-5026
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   Bmo Harris Bank
   PO Box 94034
   Palatine, IL 60094-4034


   Cci
   Augusta, GA     30901


   Chase Card
   PO Box 15298
   Wilmington, DE       19850-5298


   Citi Banamex
   2029 Century Park E
   Los Angeles, CA 90067-2901


   Comed
   Customer Care Center
   PO Box 805379
   Chicago, IL 60680-4179


   Credence
   6045 Atlantic Blvd Ste 210
   Norcross, GA 30071-1322


   Credit Acceptance
   PO Box 513
   Southfield, MI 48037-0513
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   Creditors Collection Bureau
   755 Almar Pkwy Apt Rarkway
   Bourbonnais, IL 60914-2392


   Discover Fin Svcs LLC
   PO Box 15316
   Wilmington, DE 19850-5316


   Fifth Third Bank
   5050 Kingsley Dr
   Cincinnati, OH 45227-1115


   Firstsource Financial Solutions, LLC
   7650 Magna Dr
   Belleville, IL 62223-3366


   Illinois Emergency Medical Spe
   PO Box 71402
   Chicago, IL 60694-1402


   Infinite Strategic Innovations
   PO Box 277873
   Atlanta, GA 30384-7873


   Joliet Radiological Service Corp.
   36910 Treasury Ctr
   Chicago, IL 60694-6900
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   Kohls/capone
   N56 W 17000 Ridgewood Dr
   Menomonee Falls, WI 53051


   LTD Financial Services, L.P.
   7322 Southwest Fwy Ste 1600
   Houston, TX 77074-2134


   MacNeal Hospital
   3249 Oak Park Ave
   Berwyn, IL 60402-3429


   Malcolm S. Gerald & Associates, Inc.
   332 S Michigan Ave Ste 600
   Chicago, IL 60604-4318


   McNamara, Phelan, McSteen, LLC
   3601 McDonough St
   Joliet, IL 60431-9102


   Merchants Credit Guide
   223 W Jackson Blvd Ste 4
   Chicago, IL 60606-6908


   Northwest Collectors
   3601 Algonquin Rd Ste 23
   Rolling Meadows, IL 60008-3126
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   Northwest Collectors, Inc.
   3601 Algonquin Rd Ste 232
   Rolling Meadows, IL 60008-3106


   Physiotherapy Associates
   PO Box 3379
   Montgomery, AL 36109-0379


   Presence Health
   1643 Lewis Ave Ste 203
   Billings, MT 59102-4151


   Presence St. Joseph Medical Center
   333 Madison St
   Joliet, IL 60435-8200


   Romeoville Fire Department
   18 Montrose Dr
   Romeoville, IL 60446-1370


   RX Development Assoc.
   PO Box 844624
   Dallas, TX 75284-4624


   Sears/Cbna
   PO Box 6189
   Sioux Falls, SD      57117-6189
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   Southwest Credit
   4120 International Pkwy
   Carrollton, TX 75007-1957


   Sprint
   PO Box 8077
   London, KY 40742-8077


   T-Mobile Financial
   PO Box 629025
   El Dorado Hills, CA       95762-9025


   TCF Bank
   800 Burr Ridge Pkwy
   Burr Ridge, IL 60527-6486


   Village of Romeoville
   18 Montrose Dr
   Romeoville, IL 60446-1370
